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 UNITED STATES DISTRICT COURT                       On February 29, 2012, Alvin filed a
 SOUTHERN DISTRICT OF GEORGIA                    Federal Rule of Civil Procedure 59(e)
     STATESBORO DIVISION                         motion to alter the judgment. See Doc. 36.
                                                 The Magistrate Judge issued an Order
MISTRELL ALVIN,
                                                 denying the motion. See Doc. 37. The
Movant,                                          Magistrate Judge, however, did not have the
                                                 authority to issue the order disposing of the
v.                     6:11-cv-65                motion. Cf. S.D. GA . L.R. 72.3. Thus, the
                                                 Magistrate Judge’s order is a legal nullity,
UNITED STATES OF AMERICA,                        which the Court will disregard. Alvin’s
                                                 second Rule 59(e) motion, see Doc. 38, is
Respondent.
                                                 GRANTED in PART, DENIED in PART.
                  ORDER                          The Court considers Alvin’s first Rule 59(e)
                                                 motion anew. Yet, as discussed infra, the
I.     INTRODUCTION                              Court denies his first Rule 59(e) motion.
   Before the Court are Movant Mistrell
                                                      “[T]he only grounds for granting a Rule
Alvin’s (“Alvin”) “Motion for
                                                 59 motion are newly-discovered evidence or
Reconsideration and Motion to Address
                                                 manifest errors of law or fact. A Rule 59(e)
Claims the Court Failed to Address,”
                                                 motion cannot be used to relitigate old
“Motion for Reconsideration and
                                                 matters, raise argument or present evidence
Clarification of the Record,” and “Motion to
                                                 that could have been raised prior to the entry
Present Newly Discovered Evidence.” See
                                                 of judgment.” Jacobs v. Tempur-Pedic Int’l,
Docs. 36; 38; 39.                                Inc., 626 F.3d 1327, 1344 (11th Cir. 2010)
II.    ANALYSIS                                  (internal citation and quotation omitted)
    Alvin was convicted of conspiracy to         (quoting Arthur v. King, 500 F.3d 1335,
possess with the intent to distribute cocaine.   1343 (11th Cir. 2007) (per curiam)). A Rule
See United States v. Alvin, 6:06-cr-26, Doc.     59(e) motion must be filed no later than 28
720 (S.D. Ga. Jan. 23, 2008). The Eleventh       days after judgment. See F ED. R. C IV. P.
Circuit upheld Alvin’s sentence on appeal.       59(e). Alvin’s first 59(e) motion is timely.
See United States v. Bacon, 598 F.3d 772         See Doc. 36 at 25-26 (signed on February
(11th Cir. 2010).                                25, 2012 and postmarked on February 27,
                                                 2012).
   On June 6, 2011, Alvin moved for 28
U.S.C. § 2255 relief. See Doc. 1. On                 Alvin claims the Court violated Clisby v.
January 10, 2012, the Magistrate Judge           Jones by failing to address several of the
issued a Report and Recommendation               claims in his § 2255 motion. See Doc. 36 at
(“R&R”) recommending denial of Alvin’s           1. In Clisby, the Eleventh Circuit instructed
motion, which this Court adopted over            district courts to resolve all claims for relief
Alvin’s objections. See Docs. 30; 33; 34.        raised in a petition for writ of habeas corpus
                                                 prior to granting or denying relief. 960 F.2d
                                                 925, 936 (11th Cir. 1992); see also Rhode v.
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United States, 583 F.3d 1289, 1291 (11th            receiving authorization from the Justice
Cir. 2009) (applying Clisby to a federal            Department to wire tap and that his counsel
prisoner’s § 2255 motion). Alvin’s Clisby           was ineffective for failing to investigate and
argument, however, is meritless. The R&R            raise this issue. See id. at 7-10.
resolved all fifteen grounds and the                    Alvin then claims his counsel erred in
corresponding subparts that were raised in
                                                    not moving to dismiss count one of his
Alvin’s § 2255 motion. See Doc. 30.
                                                    indictment as defective. See id. at 11-13.
    Alvin claims the Court failed to address        Alvin argues that the Government
his claim that “[t]he Government never              committed a Brady violation. See id. at 14-
received authorization to wire tap [the]            15. Furthermore, Alvin avers that the
target telephone [number].” See Doc. 36 at          Magistrate Judge clearly erred in denying
3. The R&R, however, resolved all of                his ineffective assistance claim against his
Alvin’s claims under Ground One,                    appellate counsel under Ground Thirteen.
concluding that they were procedurally              See id. at 16-18.
defaulted and that he had not demonstrated              Finally, Alvin contends the Court erred
that ineffective assistance of counsel was          in denying his discovery motions, motion to
responsible for the default. See Doc. 30 at         subpoena evidence, and motion to appoint
13.                                                 counsel. See id. at 19-22. Alvin avers that
    Alvin also claims that the Magistrate           the granting of these motions would allow
Judge failed to make a finding on his claim         him to prove his allegations. See id. at 21.
“that counsel was ineffective for failing to           Alvin essentially attempts to re-litigate
request a continuance, investigate and              the claims and arguments raised in his §
suppress the unlawful wiretaps.” See Doc.           2255 motion and rejected by the Magistrate
36 at 7. Yet, the Magistrate Judge                  Judge and this Court pursuant to its adoption
recommended denying all of Alvin’s
                                                    Order. Alvin does not demonstrate manifest
ineffective assistance claims raised in his §       error of law or fact. His first Rule 59(e)
2255 motion. See Doc. 30 at 13-16.                  motion is DENIED.
    The gist of Alvin’s remaining arguments
                                                        On April 19, 2012, Alvin filed his third
is that the Magistrate Judge made clear             Rule 59(e) motion presenting what he
errors of law and fact. Alvin claims the            describes as newly discovered evidence.
Magistrate Judge clearly erred because the
                                                    See Doc. 39. This “evidence” consists of
record allegedly demonstrates that the              five pages, along with a corresponding
government impermissibly began
                                                    letter, obtained via a Freedom of
wiretapping before the judge’s order and            Information Act (“FOIA”) request to the
that his counsel was therefore ineffective in       Office of Enforcement Operations of the
not raising the issue. See Doc. 36 at 5-6.          Department of Justice’s (“DOJ”) Criminal
Alvin also argues that the government agent         Division. See id. at 7-13. The letter is dated
erred by allegedly submitting an affidavit to       September 17, 2010. See id. at 7. Alvin
the district judge two months prior to              claims the documents just now came into

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possession because he first needed the               not impermissibly successive). This Court
consent of a fellow defendant in his criminal        has previously rejected a variation of his
case. See id. at 1-2.                                argument that the Government committed
                                                     fraud. See Docs. 30 at 3-14; 34.
    Alvin claims the evidence demonstrates
that the Government fabricated the DOJ’s                 Alvin here has not shown that the DOJ
May 30, 2006 authorization of the pursuit of         memorandum authorizing the wiretap should
a wiretap, thus committing a fraud upon the          have been provided in response to the
Court. See id. at 2-5; see also Doc. 18-1 at         particular FOIA request or otherwise should
2-3. He asserts that because this                    have been part of the publicly available file.
memorandum authorizing the wiretap was               This alleged “newly discovered evidence”
not obtained through his fellow defendant’s          does not demonstrate that the Government
FOIA request, then the memorandum must               fabricated the DOJ authorization
have been falsified. See id. at 2. He avers          memorandum or that his counsel was
that this alleged falsification prevented him        ineffective in raising the particular issue.
from fully litigating his claims and now             Cf. Alvin, 6:06-cr-26, Doc. 1141 at 1-2
entitles him to habeas relief. See id. at 3-4.       (denying Alvin’s motion for reconsideration
                                                     based on “newly discovered evidence”
    The Government responds that Alvin’s
                                                     because the evidence had been available
motion is untimely. See Doc. 40 at 2. Rule
                                                     before the deadline’s expiration). Alvin has
59(e) motions must be raised within 28 days
                                                     not presented sufficient evidence to support
after the entry of judgment. F ED. R. C IV. P.
                                                     his serious allegation that the Government
59(e). This Court denied Alvin’s § 2255
                                                     falsified the DOJ authorization
motion on January 30, 2012. See Doc. 34.
                                                     memorandum. Therefore, his motion is
Alvin brought this motion well more than
                                                     DENIED.
twenty-eight days later, and thus it is
untimely. See Doc. 39 (signed on April 13,           III. CONCLUSION
2012). The Court could construe the filing               Alvin’s first Rule 59(e) motion, see Doc.
as a Rule 60(b) motion, but such a motion            36, is DENIED.
based on newly discovered evidence would
constitute an impermissible successive                   Alvin’s second Rule 59(e) motion, see
                                                     Doc. 38, is GRANTED in PART, DENIED
motion. See F ED. R. C IV. P. 60(b)(2)
(allowing relief from judgment based on              in PART. The Court has considered his first
newly discovered evidence); 28 U.S.C. §§             Rule 59(e) motion anew but has denied the
2244(b), 2255(h).                                    motion.

    Alvin, however, argues that the                     Alvin’s “Motion to Present Newly
Government committed fraud upon this                 Discovered Evidence,” see Doc. 39, is
                                                     DENIED.
Court, and the Court will consider the merits
of his argument. Cf. Galatolo v. United
States, 394 F. App’x 670, 671-72 (11th Cir.
2010) (stating that a Rule 60(b)(3) motion is

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This 3rd day of May 2012.

 I)
 B- AVANT
    AVANT EDENFIELØ, JIJDGE
 UNiTED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF GEORGIA
